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           IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                       8:11CR53
                              )
          v.                  )
                              )
IGNACIO RUBIO HERNANDEZ,      )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on plaintiff’s motion

to seal (Filing No. 145).      The Court finds the motion should be

granted.   Accordingly,

           IT IS ORDERED that plaintiff’s motion is granted.               The

motion (Filing No. 146) shall remain sealed pending further order

of the Court.

           DATED this 20th day of May, 2015.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
